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               EXHIBIT L
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                   Pennsylvania Human Relations Comission and Philadelphia Commission on Human Relations




Charging Party, Caitriona Brady ("Charging Party") was subjected to discrimination and harassment by Respondents, Middle East Forum, Greg
Roman, Daniel Pipes, and Matt Bennett (collectively “Respondents”) based upon Charging Party’s sex and gender. The discrimination and
harassment to which Charging Party was subjected was severe and pervasive and created a hostile work environment. Charging Party’s
supervisors were Greg Roman, Daniel Pipes, and Matt Bennett. During Charging Party’s employment, Respondents, including Respondent, Greg
Roman, subjected Charging Party to discrimination and harassment by cursing, yelling, screaming, shouting, insulting, belittling, disparaging, and
verbally abusing female staff including Charging Party, Caitriona Brady. Charging Party, Caitriona Brady reported Respondent, Greg Roman’s
severe and pervasive discrimination and harassment and was subjected to retaliation. Respondent, Greg Roman created a hostile work
environment and then enforced policies whereby Charging Party and the other female staff were denied the ability to report the severe and
pervasive discrimination and harassment in the workplace. Respondent, Greg Roman initiated, implemented and enforced a policy whereby
female staff members were not allowed to interact with the President of the Middle East Forum. Daniel Pipes. Respondent, Greg Roman actively
and willfully worked to subjugate female employees of the Middle East Forum through policies designed to impede, obstruct, and prevent female
employees from vindicating their right pursuant to Title VII of the Civil Rights Act. Respondent, Greg Roman ordered female employees
including Charging Party never to speak directly with President, Daniel Pipes. In November 2018, Charging Party, Caitriona Brady notified and
reported Respondent, Greg Roman’s discrimination and harassment of the female staff during a meeting with Respondent, Daniel Pipes when
almost every female employee of the Middle East Forum came forward together to report the severe and pervasive discrimination and harassment
to which female staff were subjected by Respondent, Greg Roman.
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                  Pennsylvania Human Relations Comission and Philadelphia Commission on Human Relations

The female staff reported Respondent, Greg Roman’s harassment, bullying, and his intolerable, onerous, and abusive conduct and comments designed to
discriminate against female employees of the Middle East Forum. Those present at the November 9, 2018 meeting when the female staff held a group meeting with
Respondent, Daniel Pipes to report Respondent, Greg Roman’s discrimination and harassment in the workplace, included: Patricia McNulty, Lisa Barbounis,
DeLaney Yonchek, Respondent, Matt Bennett, Stacy Roman, Thelma Prosser, Marnie Meyer, Mark Fink, Respondent, Daniel Pipes, and Charging Party, Caitriona
Brady. Stacy Roman is Respondent, Greg Roman’s sister. Her presence at a meeting held to report and begin investigations into Respondent, Greg Roman’s
discrimination and harassment in the workplace is indicative of Respondents’ utter and total disregard for the anti-discriminatory intent promulgated by Title VII.
Throughout the entire meeting, while the female staff who were subjected to severe and pervasive discrimination and harassment in the workplace attempted to
report Respondent, Greg Roman’s unlawful conduct, Respondent, Greg Roman’s sister, Stacy Roman was belligerent and interjected argumentative comments. For
example, Stacy Roman blamed the women who were subjected to discrimination and harassment based upon their sex and gender stating that they should not have
worn such short skirts. Notwithstanding, Respondent, Daniel Pipes and house counsel, Mark Fink refused to ask Stacy Roman to leave in order to provide the
female staff who were subjected to discrimination and harassment with a safe environment in which to make their reports. Moreover, Daniel Pipes actually invited
Respondent, Greg Roman to the meeting, although he did not attend. Respondent, Daniel Pipes coerced the female staff to sign nondisclosure agreements (“NDA”)
in order to attend. Respondent, Daniel Pipes would not allow the female staff including Charging Party, Caitriona Brady to report discrimination and harassment in
the workplace until she signed an NDA. Respondent, Greg Roman set up cameras around the office and harassed the female staff by monitoring everything they did,
including Charging Party, Caitriona Brady. These cameras are still operational today and Respondent, Greg Roman continues to harass the female staff using
surveillance equipment. Respondent, Greg Roman used the surveillance equipment to monitor female staff and how often and how long they used the bathroom. On
one occasion, Charging Party, Caitriona Brady worked on a spreadsheet. Respondent, Greg Roman was not in the office. While working, Charging Party, Caitriona
Brady received an electronic message from Respondent, Greg Roman that stated, “didn’t you already input that one?” Respondent, Greg Roman’s message was
designed to harass, scare, intimidate, and alarm Charging Party, Caitriona Brady by telling Charging Party, Caitriona Brady he was watching her. Respondent, Greg
Roman told female employees how many times they used the restroom in a given day. For example, he would say, Caitriona used the bathroom five (5) times today.
Respondent, Greg Roman actively attempted to have sexual relations with interns. Due to this information and Respondent, Greg Roman’s history of discrimination
and harassment, female staff including Charging Party are afraid to be alone with Respondent Greg Roman. Charging Party sent text messages to Respondent Mat
Bennett notifying Respondent, Matt Bennett that she was afraid to be along with Respondent, Greg Roman. Respondent, Matt Bennett refused to conduct an
investigation. No corrective action was taken. Respondent, Greg Roman forced female employees to sit next to him at his desk, instead of across from him.
Respondent, Greg Roman got inappropriately close to the female staff including Charging Party, Caitriona Brady. Respondent, Greg Roman forced female staff to
sit with him and watch inappropriate videos. Respondent, Greg Roman continued to divulge inappropriate sexual information to female staff. For example,
Respondent, Greg Roman spoke about his girlfriend giving him blowjobs. Respondent, Greg Roman gave $1,200.00 to an intern named Gabrielle Bloom in a quid
pro quo sexual exchange. Respondent, Greg Roman started inappropriate sexual rumors involving staff members including, Charging Party, Caitriona Brady.
Respondent, Greg Roman informed people in the office that Charging Party’s father was having a sexual affair with another staff member. Respondent, Daniel Pipes
also maintained sexual relationships with employees including an employee named Brook Goldstein. At present, Charging Party is subjected to a severe and
pervasive atmosphere of discrimination and harassment based upon her sex and gender and in retaliation for Charging Party’s reports and opposition to
discrimination and harassment. Charging Party continues her attempts to report and obtain assistance from Respondent, Daniel Pipes. Respondent, Daniel Pipes
continues to protect, shield, indemnify and assist Respondent, Greg Roman from any and all impact caused by his severe and pervasive discrimination and
harassment. Accordingly, Respondent, Daniel Pipes has condoned, sanctioned, permitted, and allowed the discrimination, harassment, and retaliation to continue.
Respondents have made Charging Party’s working conditions so onerous, abusive, and intolerable that no person in Charging Party’s shoes should be expected to
continue working under such conditions. As a result of Respondents’ actions, Charging Party felt extremely humiliated, degraded, victimized, embarrassed and
emotionally distressed. As a result of Respondents’ conduct, Charging Party was caused to sustain serious and permanent personal injuries, including permanent
psychological injuries. As a result of Respondents’ actions, Charging Party felt extremely humiliated, degraded, victimized, embarrassed and emotionally distressed.
As a result of the acts and conduct complained of herein, Charging Party has suffered and will continue to suffer a loss of income, loss of salary, bonuses, benefits
and other compensation to which such employment entailed. Charging Party also suffered future pecuniary losses, emotional pain, humiliation, suffering,
inconvenience, loss of enjoyment of life, and other non-pecuniary losses. Charging Party has further experienced severe emotional and physical distress. As
Respondents’ conduct has been malicious, willful, outrageous, and conducted with full knowledge of the law, Charging Party demands Punitive Damages as against
all the Respondents, jointly and severally. Respondents have exhibited a pattern and practice of not only discrimination but also retaliation. At all times material
Respondents refused to investigate or take appropriate remedial action in response to Charging Party’s complaints of discrimination, harassment and hostile work
environment. Respondents discriminatory conduct was severe and pervasive, and created a hostile work environment for Charging Party. The above are just some
examples of some of the discrimination and retaliation to which Respondents subjected Charging Party. Charging Party claims a pattern and practice of
discrimination, claims continuing violations, and makes all claims herein under the continuing violations doctrine. Respondents have exhibited a pattern and
practice of not only discrimination but also retaliation.
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DEREK SMITH LAW GROUP, PLLC
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1845 Walnut Street, Suite 1600
Philadelphia, PA 1910
Phone: 215.391.4790
Facsimile: 215.893.5288
Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                    :
CAITRIONA BRADY                     :     EQUAL EMPLOYMENT
749 Salter Street                   :     OPPORTUNITY COMMISSION
Philadelphia, PA 19147              :
                     Charging Party :     June 20, 2019
vs.                                 :
                                    :
MIDDLE EAST FORUM                   :     TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600      :
Philadelphia, PA 19103              :
and                                 :     PENNSYLVANIA HUMAN
DANIEL PIPES (individually)         :     RELATIONS COMMISSION
and                                 :
GREG ROMAN (individually)           :     AND
and                                 :
MATTHEW BENNETT (individually)      :      PHILADELPHIA COMMISSION
                                    :      ON HUMAN RELATIONS
                     Respondents.   :

                               ENTRY OF APPEARANCE


   Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party,

CAITRIONA BRADY, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                    SETH D. CARSON, ESQUIRE

DATED: June 20, 2019
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                               CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Responses to Defendants’ Requests for Admissions t o be served via email to:

                                 David J. Walton (PA # 86019)
                                 Leigh Ann Benson (PA #319406)
                                 Cozen O'Connor
                                 1650 Market Street, Suite 2800
                                 Philadelphia, PA 19103
                                 P: 215-665-2000
                                 F: 215-665-2013
                                 dwalton@cozen.com
                                 lbenson@cozen.com


                                           DEREK SMITH LAW GROUP, PLLC


                                           BY:__/s/_Seth D. Carson_____________
                                                 SETH D. CARSON




DATED: July 12, 2020
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                                                                    X
Pennsylvania Human Relations Comission and Philadelphia Commission on Human Relations

 Caitriona Brady
                                                                        856-454-3729          05-08-1996
749 Salter Street, Philadelphia, PA 19147




Middle East Forum                                                            25                215-546-5406
1650 Market Street, Suite 3600, Philadelphia, PA 19103


Greg Roman, Daniel Pipes, Matt Bennett                                        25             215-546-5406

 1650 Market Street, Suite 2600, Philadelphia, PA 19103


                            X
                                                                              October 2017-October 2019
    X
          X                                                                         X
Charging Party, Caitriona Brady was subjected to a severe and pervasive atmosphere of discrimination
and harassment in the workplace. Charging Party now files this Second Charge of Discrimination against
the above named Respondents, Middle East Forum, Greg Roman, Daniel Pipes, and Matthew Bennett.
Charging Party was employed at the Middle East Forum from October 2017 until her unlawful
termination by constructive discharge sometime around October 2019. Charging Party Caitriona Brady
notified Respondents that she could no longer tolerate working in such hostile work conditions and
resigned her position at the Middle East Forum to avoid further discrimination and harassment and
retaliation to which Charging Party was subjected by Respondents during her employment. Charging
Party's prepared a resignation letter and notified Respondents that she could no longer tolerate the severe
and pervasive discrimination and harassment which caused Charging Party to suffer physical and mental
distress. Charging Party reported the discrimination and harassment and was subjected to further
retaliation.
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Charging Party filed a Charge at the EEOC and was further subjected to retaliation. Charging Party hereby
would ask the EEOC and Pennsylvania Human Relations Commission and Philadelphia Commission on
Human Relations to consider her previously filed Charge of Discrimination which was assigned the Charge
number 530-2019-05028. When this Charge was filed in June 2019, Charging Party had not yet been
constructively discharged from her employment. After filing her Charge, Charging Party was subjected to
further discrimination, harassment and retaliation. Charging Party attempted to continue her
employment at the Middle East Forum however, Respondents initiated a campaign of retaliation against
Charging Party pursuant to Charging Party’s reports of discrimination and harassment and her attempts to
vindicate her rights by filing a Charge of Discrimination, previous Charge number identified above.
Charging Party was subjected to tangible employment actions. Charging Party’s position with the Middle
East Forum was changed and altered. Charging Party’s ability to do the work that she was responsible for
changed at Respondents subjected Charging Party to further discrimination and harassment and
retaliation by reassigning Charging Party or subjecting Charging Party to discipline. Charging Party was
threatened. Charging Party was ignored. The entire office changed after Charging Party filed her Charge
and it was communicated to Charging Party without any ambiguity that Charging Party was no longer
welcome at the Middle East Forum. Charging Party was made to understand that she was not welcome at
the Middle East Forum and that Charging Party’s future at the Middle East Forum would afford Charging
Party no opportunity for advancement and indeed Charging Party would not even be permitted to perform
the same responsibilities that she performed prior to Charging Party submitting a Charge of
Discrimination at the EEOC and PHRC. Respondents disparate treatment and retaliation against
Charging Party and the hostile work environment that began June 2018 culminated in a tangible
employment action: Charging Party’s termination. Charging Party was reprimanded and issued verbal
warnings for no reason other than retaliation. Respondents refused to work with Charging Party or even
communicate with her. Respondent, Daniel Pipes discontinued all communicate with Charging Party in
person and entered the office, ignored Charging Party and shut his door. This behavior marked significant
change from the way that Charging Party was treated prior to her attempts to vindicate her rights. All
support for Charging Party was withdrawn. Respondents refused to communicate with Charging Party
and all communication to Charging Party indicated that Charging Party was no longer welcome as an
employee at the Middle East Forum. Respondents refused to terminate Charging Party’s employment for
liability purposes but refused to work with her as a employee. Charging Party had no choice but to
discontinue her own employment as Charging Party would no longer receive any support, communication,
or recognition from Respondents. Respondent conduct and comments was of a gender based nature and
retaliatory nature and had the purpose and effect of unreasonably interfering with Charging Party’s work
environment.
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Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                     :
CAITRIONA BRADY                      :    EQUAL EMPLOYMENT
749 Salter Street                    :    OPPORTUNITY COMMISSION
Philadelphia, PA 19147               :
                      Charging Party :    December 18, 2019
vs.                                  :
                                     :
MIDDLE EAST FORUM                    :    TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600       :
Philadelphia, PA 19103               :
and                                  :    PENNSYLVANIA HUMAN
DANIEL PIPES (individually)          :    RELATIONS COMMISSION
and                                  :
GREG ROMAN (individually)            :    AND
and                                  :
MATTHEW BENNETT (individually)       :     PHILADELPHIA COMMISSION
                                     :     ON HUMAN RELATIONS
                      Respondents.   :

                               ENTRY OF APPEARANCE


   Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party,

CAITRIONA BRADY, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                   SETH D. CARSON, ESQUIRE

DATED: December 18, 2019
